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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:13-CR-244

vs.
                                              MEMORANDUM AND ORDER
FROILAN CUEVAS,

                  Defendant.

       This matter is before the Court on the defendant's Motion to Suppress
(filing 73) and the United States Magistrate Judge's Findings and
Recommendation (filing 113), recommending that defendant's motion to
suppress be denied. The parties were given 14 days from the filing of the
Findings and Recommendation to file any objections to the Magistrate
Judge's decision. The Findings and Recommendation were filed on October
17, 2013, and no objection has been filed.
       Tile 28 U.S.C. § 636(b)(1) provides for de novo review only when a party
objected to the Magistrate Judge's findings or recommendations. Peretz v.
United States, 501 U.S. 923 (1991). Failure to object to a finding of fact in a
Magistrate Judge's recommendation may be construed as a waiver of the
right to object from the district court's order adopting the recommendation of
the finding of fact. NECrimR 59.2(e). The Magistrate Judge's order advised
the parties that failure to object to the findings and recommendation may be
held to be a waiver of the right to appeal the Court's adoption of the
recommendation. See filing 113. And the failure to file an objection eliminates
not only the need for de novo review, but any review by the Court. Thomas v.
Arn, 474 U.S. 140 (1985); Leonard v. Dorsey & Whitney LLP, 553 F.3d 609
(8th Cir. 2009); see also United States v. Meyer, 439 F.3d 855, 858-59 (8th Cir.
2006). Accordingly, the Court will adopt the Findings and Recommendation
waived, and any objection is deemed waived.

      IT IS ORDERED:

      1.    The Magistrate Judge's Findings and Recommendation
            (filing 113) are adopted.

      2.    The defendant's Motion to Suppress (filing 73) is denied.
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     Dated this 19th day of November, 2013.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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